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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


ANDREW MOSKOWITZ, individually and on )
behalf of all others similarly situated, )
                                         ) Case No.:
                        Plaintiff,       )
                                         )
                v.                       )
                                         )
CAMPBELL SOUP COMPANY, a New Jersey )
corporation; and SNYDER’S-LANCE, INC., a )
North Carolina corporation,              )
                                         )
                        Defendants.      )

                   CLASS AND COLLECTIVE ACTION COMPLAINT

       Plaintiff Andrew Moskowitz (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his undersigned attorneys, hereby submits the following class action and

collective action complaint against Campbell Soup Company (“Campbell”) and Snyder’s-Lance,

Inc. (“Snyder’s-Lance”) (collectively, “Defendants” or “Campbell Snacks”). The allegations

concerning Plaintiff’s acts and status are based upon his actual knowledge, and his allegations

concerning all other matters are based upon information, belief, and the investigation of counsel:

                                    NATURE OF CLAIMS

       1.      This action seeks to redress Defendants’ systemic policy and practice of

misclassifying their Distributor 1 employees as “independent contractors,” resulting in violations

of the Fair Labor Standards Act (“FLSA”), the Connecticut Minimum Wage Act (“CMWA”), and

the Connecticut Wage Payment Law (“CWPL”).




1
  Distributors” are Campbell Snacks’ direct-store-delivery workers who enter Distributor
Agreements with Campbell Snacks and are classified by Campbell Snacks as independent
contractors.
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       2.      Defendant Campbell is a brand powerhouse with two divisions: Meals & Beverages

and Snacks. Within its Snacks segment is Defendant Snyder’s-Lance, which it acquired in 2018

and has owned and controlled since. Synder’s-Lance and other brands make up Campbell’s Snack

division. Collectively, Defendants are one of the largest producers and distributors of snack foods

in the United States.

       3.      Campbell Snacks deploys an independent contractor misclassification scheme to

cheat its employees, its competition, and the state and federal governments. Campbell Snacks does

so by willfully and systematically misclassifying its hundreds of delivery drivers as “Independent

Contractors.” In doing so, Campbell Snacks denies these Distributors, including the named

Plaintiff, access to critical benefits and protections they are entitled to by law, such as overtime

compensation, and indemnification for business expenses/deductions. Through its willful

misclassification, Campbell Snacks also robs federal and state governments of tax revenue, causes

losses to state unemployment insurance and workers’ compensation funds, and gets an undue

advantage over its law-abiding competition. 2

       4.      Campbell Snacks sells billions of dollars of snack food products to retailers

throughout the United States. To help sustain its profits, Campbell Snacks has concocted a model

where it advertises “independent contractor” distributor opportunities. As part of the model,

Campbell Snacks requires each Distributor to purchase a specific sales territory in which the

Distributor is supposedly going to purchase, take title to, re-sell, and distribute Campbell Snacks’

snack food products to customers who are prearranged for the Distributor by Campbell Snacks.

The Distributors finance the large sums they pay Defendants for the right to work as an



2
  See U.S. Dept. of Labor, Wage and Hour Division, “Misclassification of Employees as
Independent Contractors,” available at https://www.dol.gov/whd/workers/Misclassification/
(describing the repercussions of misclassification) (last accessed November 13, 2024).


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“independent distributor”, and that financing is provided by Defendants at a substantial rate of

interest.

        5.     In short, Campbell Snacks sells the notion that these “independent contractors” will

run and control their own sales-based business with their own customers for their own profit and

gain. But Campbell Snacks never actually operates its business under these terms, despite

Distributors’ reliance on the promises Campbell Snacks makes.

        6.     In reality, the distributor role is far from “independent.” For example, for the vast

majority of product sales, Campbell Snacks itself contracts directly with its own large retailer

customers (like Walmart, Target, and large convenience-store chains) and maintains title over the

snack food products until the retailers take possession. But in no case do Distributors ever actually

receive title to products that go into Campbell Snacks’ retail locations. 3 Instead, Campbell Snacks

provides its product to Distributors on “consignment.” Distributors merely deliver the product and

stock Distributors’ customers’ shelves for a non-negotiable commission wage that Campbell

Snacks unilaterally establishes.

        7.     Campbell Snacks also dictates the set route or territory within which Distributors

deliver. Campbell Snacks maintains control over that territory or route with respect to things like

which Campbell Snacks’ products will be available, price, shelf space, displays, and promotion.

Worse still, Campbell Snacks determines which products Distributors may deliver (for which

Distributors receive commission rate) and which products Campbell Snacks will directly ship to

retailers from its warehouse (for which Distributors receive no commission). Often, the sole



3
 As described in Campbell Snacks’ Distributor Agreements, “the Products shall be delivered on
consignment to Distributor by Snyder’s-Lance on the terms and at the prices established, in
writing, by Snyder’s-Lance from time to time.” Accordingly, Snyder’s-Lance retains legal
ownership of the products as the “consignor,” whereas Distributors take no title to the products
and receive a simple commission wage for their product deliveries as “consignees.”


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difference between the products carried by Distributors and those directly shipped by Campbell

Snacks is the amount of wholesale product in the container (e.g., Distributors carry a brand of

crackers that comes in a container of twenty packages, while Campbell Snacks directly ships the

same brand of crackers but in containers of six packages).

        8.      Campbell Snacks also unilaterally dictates when unsold snack food products must

be reclaimed from retail locations (a.k.a. “stales” or stale product) as dictated by its retail customers

and passed down to Distributors.

        9.      Campbell Snacks also dictates which products and brands of goods will be sold

within each territory. Notably, Campbell Snacks may, and does, elect to change which retailers it

serves and/or which brands it will carry. This is true even where Campbell Snacks drastically

devalues the Distributors’ routes because Campbell Snacks unilaterally chooses to discontinue a

certain brand or stop selling to a particular retailer within that route.

        10.     Campbell Snacks also hires management and sales employees in each of its regions

to carry out sales and to directly supervise and instruct the so-called “independent distributors” in

performance of their distribution and merchandizing responsibilities within their routes.

        11.     As such, rather than operating the sales-oriented independent business promised to

them, Distributors carry out a vital portion of Campbell Snacks’ direct-store-delivery (“DSD”)

business operations—delivering and merchandizing snack food products to Campbell Snacks’

retail customers for a set commission based on a percent of the products sold in their assigned

territories.

        12.     Plaintiff is a Distributor who entered into the Distributor Agreement with Campbell

Snacks. Plaintiff brings this action on behalf of himself and other similarly situated Distributors.

This hybrid action is brought both as a “collective” action under the Federal Labor Standards Act




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(“FLSA”), as well as a class action under Rule 23 of the Federal Rules of Civil Procedure based

on numerous violations of Connecticut law.

                                             PARTIES

        13.     Plaintiff Moskowitz is an adult individual who, at all relevant times when he

personally performed work as a Distributor for Campbell Snacks, was a resident of the state of

Connecticut. Plaintiff has served as a “Distributor” since approximately 2018.

        14.     Plaintiff is a covered employee within the meaning of the FLSA, CMWA, and

CWPL.

        15.     Plaintiff’s written Consent to Join form is attached hereto as Exhibit A.

        16.     Plaintiff, like other Distributors, consistently worked between 50 and 70 hours per

week for Defendants. Yet, Plaintiff and other Distributors did not receive overtime wages.

        17.     Furthermore, Plaintiff, like other Distributors, has been subjected to and injured by

Defendants’ policy and practices of making unlawful deductions from the wages of Distributors,

failing to reimburse ordinary business expenses, and requiring an illegal refund of wages for

furnishing employment. The exact nature of these deductions and non-reimbursements is described

in detail herein.

        18.     Defendant Campbell Soup Company is a New Jersey corporation with a principal

business address at One Campbell Place, Camden, NJ 08103. On March 26, 2018, Campbell’s

announced that it completed the acquisition of Snyder’s-Lance. Snyder’s-Lance is a major part of

its Snacks division.

        19.     Defendant Snyder’s-Lance, Inc., is a North Carolina corporation with a principal

business address at One Campbell Place, Camden, NJ 08103. Synder’s-Lance is the surviving




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company that merged with S-L Distribution, LLC, which is the entity to actually sign and enter

the relevant independent contractor agreements with Plaintiff and the putative class.

                                 JURISDICTION AND VENUE

       20.     This Court has original subject-matter jurisdiction over Plaintiff’s FLSA claims

pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

       21.     In addition, the court has supplemental jurisdiction over Plaintiff’s state-law class

claims pursuant to 28 U.S.C. § 1367.

       22.     This Court also has jurisdiction over the claims asserted in this action pursuant to

the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the aggregate claims of the

Class exceed the sum or value of $5,000,000, the Class has more than 100 members, and diversity

of citizenship exists between at least one member of the Class and Defendant.

       23.     This Court has personal jurisdiction over Defendants because they do business in

Connecticut, and Plaintiff’s claims against Defendants arise from their conduct in Connecticut.

       24.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Plaintiff

resides in this District, has distributed Defendants’ snack products in this District, and because

other substantial events giving rise to the claims occurred in this District.

                                               FACTS

       A.      Defendants’ Direct-Store-Delivery Business Model

       25.     Defendants use a “direct-store-delivery” (“DSD”) model to deliver household

brand snack products into large retail stores like Walmart and Target. An integral part of this DSD

model involves Distributors like Plaintiff who pick up the snack food product at local warehouses

and deliver them to the retail customers’ shelves (e.g., the store delivery aspect of Defendants’




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DSD model). Defendants engage Distributors to carry out the “last-mile” delivery work within

their DSD business.

       26.    Campbell is a “focused brand powerhouse with two divisions: Meal & Beverages

and Snacks.” See https://www.campbellsoupcompany.com/about-us/. Part of Campbell’s Snacks

segment is Snyder’s-Lance, which was acquired by Campbell on March 26, 2018. 4 Snacking

represents approximately 47% of Campbell’s $10.1 billion in annual net sales, approximately $4.7

billion. See Campbell Soup Company, Form 8-K, Exhibit 99.1, at 3, March 26, 2018.

       27.    Campbell’s wholly owned Snyder’s-Lance “is a whole distributor of various snack

food   products   manufactured     by    subsidiaries   and   affiliates”   of   Campbell.   See

https://www.snyderslanceibo.com/ (last viewed June 19, 2024). Further, Snyder’s-Lance “also

provides wholesale distribution services to a variety of unrelated snack food companies known as

Partner Brands[.]” Id. These “Partner Brands” are typically Campbell products other than

Snyder’s.

       28.    Campbell and Snyder’s-Lance share managerial employees. For instance,

Campbell’s Vice President of Logistics, Brian Dubak, is also an authorized representative for

Snyder’s-Lance.

       29.    Snyder’s-Lance operates throughout the United States and internationally.

https://www.campbellsoupcompany.com/newsroom/news/campbell-to-acquire-snyders-lance-

inc-to-expand-in-faster-growing-snacking-category/. Its portfolio of product brands includes

Snyder’s of Hanover®, Lance®, Kettle Brand®, KETTLE® Chips, Cape Cod®, Snack Factory®

Pretzel Crisps®, Pop Secret®, Emerald®, Late July®, Krunchers!®, Tom’s®, Archway®, Jays®,




4
   See https://www.campbellsoupcompany.com/newsroom/press-releases/campbell-completes-
acquisition-of-snyders-lance/.


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Stella D’oro®, Eatsmart Snacks™, O-Ke-Doke®, Metcalfe’s Skinny®, and other brand names

along with a number of third-party brands. Id.

       30.     On August 30, 2018, Campbell announced its vision to be a leading snacks

company. To support this strategy, Campbell focused on the integration of Snyder’s-Lance into

Campbell’s business operations. Campbell Soup Company, Form 10-K, September 27, 2018. This

integration included the sharing of key learnings and best practices between Campbell and

Snyder’s-Lance, including integrating Snyder’s-Lance supply chain and distributor model.

Campbell Soup Company, Form 8-K, Exhibit 99.1, March 26, 2018. Accordingly, Campbell

engaged Snyder’s-Lance distributors to distribute its snack products. Campbell also frequently

makes large capital expenditures to optimize its DSD distribution model.

       31.     Thus, in order to get valuable snack product to market, Defendants utilize the labor

of Distributors, who transport Defendants’ goods from Defendants’ local warehouses to

Defendants’ retail customer shelves.

       32.     Needing to satisfy their customers and to provide the services they want,

Defendants exercise pervasive control over their Distributor workforce. For example, Defendants

establish the terms and prices for the snack-food products, delivery windows and schedules,

product inspection requirements, and Operating Guidelines which regulate Distributor conduct.

       B.      Defendants Misclassified Drivers

       33.     Integral to Defendants’ snack food empire, Defendants use the labor of Distributors,

like Plaintiff and the Class he seeks to represent, to carry out snack-food delivery services for

Defendants’ third-party retail customers that include major grocery chains and convenience stores.

Defendants label Distributors as “independent contractors.” In short, these Distributors perform a

central part of Defendants’ snack-distribution business: the picking-up, carrying, and delivery of




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snack-food products to Defendants’ customers. The work of Distributors is necessary to

Defendants’ snack-distribution business and is continuously performed for Defendants. Further,

Snyder’s-Lance holds itself out as a wholesale snack-foods distribution company. Distributors are

naturally an essential component of Defendants’ business model.

       34.     Defendants strictly control and regulate Distributors. Defendants agree to allocate

responsibility for, or otherwise codetermine, the essential terms and conditions of Distributors’

employment. Distributors must follow the terms of Defendants’ onerous Distributor Agreement,

along with other written instructions from Defendants. Under these operating requirements and

standards, Defendants exert control and direction on Distributors in connection with the

performance of their distribution services, both in contract and in fact. This control and direction

includes, but is not limited to, the following:

               a.      Defendants issue to Distributors Suggested Operating Guidelines &
                       Schedule of Charges, which Distributors must acknowledge in writing.
                       Therein, Defendants regulate Distributors’ conduct, including detailing how
                       Distributors must interact with customers, how Distributors must interact
                       with Defendants, and the various charges Defendants may issue Distributors
                       for their services. In fact, the “suggested” guidelines are mandatory.

               b.      Defendants deliver to Distributors on consignment snack food products
                       under terms and prices that it unilaterally establishes. Defendants retain sole
                       authority to modify these terms and prices at their discretion. Defendants
                       may also negotiate a price for the snack-food product with their customers
                       directly which Distributors must honor.

               c.      Defendants unilaterally establish the commission rate paid to Distributors
                       for their services. Distributors are paid a single “blended” commission rate
                       for all deliveries, regardless of product type and price.

               d.      Defendants establish the procedures by which Distributors must abide to
                       place orders for snack-food products on consignment from Defendants.

               e.      Defendants establish the locations from which Distributors must pick up the
                       snack-food products.

               f.      Defendants establish the process by which Distributors must report missing
                       or damaged products. Distributors must cooperate and provide support to


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                     Defendants in the investigation of any claim that a delivery by Defendants
                     contains damaged or missing products.

              g.     Defendants have the right to inspect products that have already been
                     consigned to Distributors. Defendants may take possession of products
                     consigned to Distributors upon 48 hours prior notice.

              h.     Distributors must report their inventory to Defendants at least once a week,
                     but in no case later than the deadline established by Defendants. Should a
                     Distributor fail to make this weekly report as requested by Defendants, the
                     Distributor may be charged for that week’s shipment of products to the
                     Distributor.

              i.     Distributors must support and cooperate with Defendants in the case of a
                     product recall.

              j.     Distributors hold and care for the snack food products as the sole and
                     exclusive property of Defendants, but take no title to the products.
                     Distributors must store the products in such a manner as to protect them.
                     However, upon delivery to a Distributor, the Distributor assumes the risk of
                     loss, theft, or damage to the products. 5

              k.     Distributors must hold and care for the products of other Distributors in
                     accordance with the Distributor Agreement.

              l.     Distributors are obligated to use their “best efforts” to: (1) develop the full
                     sales potential of the territory; (2) sell products to stores and retail outlets
                     within the territory in accordance with the Distributor Agreement; (3) sell
                     and promote the products to achieve the best result possible; (4) provide
                     service to Defendants’ customers in accordance with good industry practice
                     and as requested Defendants’ customers; and (5) maintain the established
                     reputation and good will of the products in the marketplace.

              m.     Distributors must comply with any policies, procedures, requests, and
                     requirements imposed upon them by Defendants’ customers. A Distributor
                     wishing to change his or her delivery schedule must provide Defendants
                     with at least fifteen days written notice.

              n.     Defendants enter into contracts with retailers in order to stock their shelves
                     with Defendants’ products. When these contracts expire, only Defendants’
                     representatives can negotiate and renew the contracts. If Defendants does
                     not desire and/or act to renew the contract, the retail outlet is removed from
                     the respective Distributor’s territory.


5
 This is, in essence, Campbell Snacks’ consignment scheme, as described in Section C, supra.
Campbell Snacks’ Distributor Agreement explicitly states that the products remain Campbell
Snacks’ property, but offsets the risk of loss, theft, or damage to Distributors.


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      o.    Defendants determine the amount of product retail stores must have in
            stock. Failure to meet Defendants’ standards results in discipline to the
            Distributor. For some of their more valuable customers, Defendants require
            multiple weeks of product in-stock at all times, which requires Distributors
            to disproportionately service those stores or risk termination.

      p.    On occasion, Defendants’ representatives ride along with Distributors as
            they service their respective territories in order to monitor Distributor
            performance and check-in on the retail outlets. This is known as a “market
            check.”

      q.    Defendants determine which products Distributors may carry, and which
            products they may not.

      r.    Defendants determine the amount of shelf space devoted to products carried
            by Distributors. It may choose to promote Distributor-carried brands by
            increasing shelf space, or suppress Distributor-carried brands by reducing
            shelf space for those products.

      s.    Defendants determine which products it will directly ship to retail outlets at
            the exclusion of Distributors, and which products Distributors may deliver
            and receive a commission wage.

      t.    Defendants determine whether the products carried by Distributors will be
            subject to promotions.

      u.    Defendants maintain a record of the products carried by each Distributor.
            Should a Distributor’s records show less product carried than Defendants’
            records, Defendants will place the extra product “in dispute.” Unless the
            Distributor shows Defendants proof of the product, Defendants will require
            the Distributor to pay them the amount of the extra product.

      v.    Distributors may procure product only from Defendants unless Distributors
            produce to Defendants a receipt from where they procured their product.
            Should a Distributor not produce such a receipt, the product will be placed
            in “Inventory Reconciliation” and the Distributor will be unable to
            distribute the product.

      w.    Defendants require that Distributors incorporate, register, and license their
            franchises. Distributors are obligated to maintain their franchises for the
            duration of the Distributor Agreement. Distributors must also acquire and
            maintain an employer identification number and provide proof thereof to
            Defendants.

      x.    Distributors must acquire and maintain all licenses and permits needed for
            conducting business, operating their vehicles, and performing under the
            Distributor Agreement. Distributors must provide proof of all such licenses
            and permits to Defendants.


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                y.      Distributors must electronically transmit records of their deliveries and any
                        other transactions to Defendants in the specific format required by
                        Defendants. If Distributors wish to use a hand-held computer system
                        provided by Defendants to make this transmission, they must do so pursuant
                        to the terms and conditions established by Defendants.

                z.      Distributors must keep accurate records of the products they receive, and
                        sales and deliveries made (and other operations). Defendants may inspect
                        such records two times per year, or more in exceptional circumstances.

                aa.     Distributors have five days to remedy any failure to meet the service
                        requirements of Defendants’ customers. If such failure is not remedied
                        within five days, Defendants may deem the territory abandoned. Where a
                        territory is abandoned, all rights under the Distributor Agreement revert to
                        Defendants.

        35.     Defendants have the right to terminate the Distributor Agreement and a

Distributor’s rights with respect to the territory, upon 24 hours written notice, with no right to cure,

after occurrence of any of the following:

                a.      Insolvency of the Distributor;

                b.      Dishonesty, fraudulent conduct, or misrepresentation by the Distributor;

                c.      Performance of the Distributor’s duties while under the influence of alcohol
                        or illegal drugs;

                d.      Involvement in any activity which is unsafe or is a health hazard to the
                        public;

                e.      Conviction of the Distributor or any of his/her directors or officers of any
                        offense which is punishable by imprisonment or which is a felony;

                f.      Any actions by the Distributor which cause, or Defendants believe are likely
                        to cause substantial harm to (1) Defendants’ business, goodwill or
                        reputation in the territory or elsewhere; (2) the Distributor’s business,
                        goodwill or reputation; or (3) another Distributor’s business, goodwill or
                        reputation;

                g.      Abandonment of the territory or a customer within the territory; and

                h.      The failure to submit accurate and timely inventory reports.

        36.     In the case of any other breach of the Distributor Agreement, Distributors have five

days to cure such breach after which Defendants may terminate at their discretion.


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        37.     Defendants are not obligated to afford Distributors the right to cure a breach on

more than three occasions during any consecutive 12-month period. Should a subsequent breach

occur, Defendants may terminate the Distributor Agreement upon 24 hours’ written notice without

the right to cure.

        38.     Defendants further have the right to terminate the Distributor Agreement and

Distributors’ rights thereunder for any undefined “just cause” that may arise upon giving sixty

days prior written notice.

        C.      Defendants Deprive Distributors of Contractually Owed Wages

        39.     In order to purchase a distribution territory, a Distributor must enter into a

Distribution Agreement with Defendants. The Distribution Agreement includes a boundary

description and map of the Distributor’s territory, as well as a list of retail outlets in their territory.

        40.     Defendants issue product to Distributors on “consignment.” When Distributors

transport and stock retail outlets with the consigned product, Defendants pay Distributors a

commission wage set by Defendants. This commission wage is the sole form of wages received

by Distributors for their services to Defendants. Defendants may, and do, unilaterally change the

commission rate received by Distributors.

        41.     In this consignment model, Distributors never take title of the product; it remains

Defendants’ product at all times. Distributors do not purchase product from Defendants, nor sell

product to third party retailers for a profit. Instead, Distributors are issued product by Defendants

and deliver that product to Defendants’ retail outlet customers on terms set by Defendants.

Defendants establish a non-negotiable commission rate for Distributors, which Distributors

receive for distributing the consigned product to retail outlets. The commission wage Distributors




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receive for distributing Defendants’ product is a “wage,” pursuant to the CWPL, C.G.S. § 31-71a,

et seq.

          42.   Accordingly, Distributors are owed the commission wages on products distributed

to retail outlets within their territory. Yet, Defendants routinely deprive Distributors of these

wages.

          43.   Defendants authorize which product stock keeping units (SKUs) Distributors may

distribute to retail outlets. The SKU is determined by the type of product and volume of packaging.

          44.   Defendants may, and do, directly ship product to retail outlets in Distributors’

territories thereby bypassing the Distributor’s role in getting the product to market. Direct shipping

involves Defendants sending product directly from their warehouse to the retail outlet, cutting the

Distributor out of the process. When Defendants direct-ship a product with an SKU carried by

Distributors, Defendants pay Distributors a reduced commission rate. However, when Defendants

direct-ship a product with an SKU that is not carried by Distributors, Defendants pay Distributors

no commission wage.

          45.   Defendants arbitrarily and nominally change product SKUs so that they may direct

ship the product without paying Distributors their commission wage. For example, Defendants

will authorize Distributors to carry an SKU of cracker snacks that come in a container of twenty

individually wrapped packages. Defendants will then generate a new SKU for the same cracker

products that contains six individually wrapped packages. Similarly for bagged chips, Distributors

will be authorized to carry 5.5 oz bags. Defendants then generate a new SKU of the same chips

which come in 5 oz bags. Defendants will not authorize Distributors to carry this new SKU, and

Defendants pay Distributors no commission wage on these direct shipments even though the same

retail outlets are buying the same product, just packaged in a different quantity. Because the




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product is placed on the retail outlet shelves in their individual packaging, there is no discernible

difference between the product carried by Distributors and the product directly shipped by

Defendants apart from differing bar codes on the back of the product. The below photos depict

product carried by Distributors and product directly shipped by Defendants. The products are

indistinguishable. Yet, Distributors receive commission wages on some of these products and, by

Defendants’ whim, not on others. By arbitrarily creating new product SKUs so that Defendants

may direct-ship product to retail outlets in Distributors’ territories without paying Distributors their

commission wages, Defendants deprive Distributors of their contractually owed wages.




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       46.     Defendants’ actions, as described above, result in Distributors being deprived of

the contractually owed wages under their Distributor Agreement with Defendants.

       D.      Defendants’ Unlawful Deductions, Failure to Reimburse, and Illegal Refund
               of Wages

       47.     Distributors pay for the right to work for Defendants. This includes, but is not

limited to, paying a non-refundable “initial fee” to purchase a distribution territory, paying a

weekly administrative service charge, paying a daily charge for temporary route service by

Defendants, paying for manual invoice entries by Defendants, paying for sales ticket errors, paying

a central-billed account fee for missing invoices, and paying a returned check fee. On occasion,

Defendants weekly payments to its Distributors will show a negative amount owed to Distributors,




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meaning the Distributor actually owes Snyder’s money as a result of the Distributor’s operations

that pay period.

       48.     Distributors also shoulder many other unreimbursed business expenses for

Defendants, including but not limited to vehicle related expenses like fuel/mileage, clothing and

uniforms, the computer system required to make mandatory electronic transmissions to Defendants

of transactions, and insurance. Defendants are well aware of these expenses and they are

reasonably necessary.

       E.      Defendants’ Failure to Comply with Other Connecticut Wage and Hour Laws

       49.     As explained further below, as a result of their unlawful misclassification,

Defendants fail to provide Distributors with overtime pay and fail to pay all wages owed when

due.

                        FLSA COLLECTIVE ACTION ALLEGATIONS

       50.     Plaintiff brings the First Count below as a collective action under the FLSA on

behalf of himself and all similarly situated individuals. The proposed FLSA Collective Class

(“FLSA Class”) is defined as:


               All persons who personally worked in Connecticut pursuant to a
               “Distributor Agreement” or similarly styled hiring agreement to distribute
               Defendants’ snack food products to their customers that were not classified
               as employees during the period commending three years prior to the
               commencement of this action through the close of the Court-determined
               opt-in period.

       Plaintiff reserves the right to modify the definition prior to conditional certification of the

FLSA Collective Action.

       51.     To the extent tolling operates to toll claims by the FLSA Class against Defendants,

the applicable statute of limitations and period for calculating damages should be adjusted

accordingly.


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       52.     Defendants are engaged in communication, business, and transmission throughout

the United States and are, therefore, engaged in commerce within the meaning of Title 29 of the

United States Code Section 203(b).

       53.     Plaintiff has consented in writing to be a part of this action pursuant to Title 29 of

the United States Code Section 216(b).

       54.     Plaintiff and members of the FLSA Class are similarly situated in that they signed

a Distributor Agreement or similar contract, have substantially similar job requirements, receive

similar or identical pay, and were required to work under the same uniform conditions and systems.

       55.     This action meets all prerequisites for the maintenance of a collective action under

the FLSA. Also, the persons who comprise the FLSA Class exceed 100 persons and are therefore

so numerous that the joinder of all such persons is impracticable and the disposition of their claims

as a collective class will benefit the parties and the Court.

       56.     Nearly all factual, legal, statutory, declaratory, and injunctive relief issues raised in

this Complaint are common to the FLSA Class and will apply uniformly to every member of the

FLSA Class.

       57.     The representative Plaintiff will fairly and adequately represent and protect the

interest of the FLSA Class, and has retained attorneys who are competent and experienced in

similar litigation. There are no material conflicts between the claims of the representative Plaintiff

and the members of the FLSA Class that would make collective treatment inappropriate. Counsel

for the FLSA Class will vigorously assert the claims of the entire FLSA Class.

       58.     Notice of this lawsuit should be sent to the FLSA Class and Plaintiff will move for

this after filing this Complaint. These individuals are readily identifiable through Campbell

Snacks’ records.




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                               CLASS ACTION ALLEGATIONS

       59.     Plaintiff brings the Second through Fifth Counts below as a class action against

Campbell Snacks pursuant to Rule 23 of the Federal Rules of Civil Procedure and pursuant to

Campbell Snacks’ many violations of Connecticut state law. The proposed Rule 23 Class

(“Connecticut Class”) is defined as:

               All persons who personally worked in Connecticut pursuant to a
               “Distributor Agreement” or similarly styled hiring agreement to distribute
               Defendants’ snack food products to their customers that were not classified
               as employees during the period commencing two years prior to the
               commencement of this action through the close of the Court-determined
               opt-in period.

       Plaintiff reserves the right to amend the above Class and to add additional classes and

subclasses as appropriate based on investigation, discovery, and the specific theories of liability,

among other reasons.

       60.     Numerosity. The potential members of the Class as defined are so numerous that

joinder of all the members is impracticable. While the precise number of class members has not

been determined, Plaintiff is informed and thereon believes that there are more than 300

individuals meeting the class definition. Defendants have access to data necessary to identify the

members of the Class.

       61.     Adequacy of Representation. The named Plaintiff is fully prepared to take all

necessary steps to fairly and adequately represent the interests of the Class defined above.

Plaintiff’s attorneys are ready, willing, and able to fully and adequately represent the Class and

individual Plaintiffs. Plaintiff’s attorneys are highly experienced in employment class action

litigation. Plaintiff intends to prosecute this action vigorously.




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       62.       Common Questions of Law and Fact. There are predominant common questions

and answers of law and fact and a community of interest amongst Plaintiff and the claims of the

Class as follows:

                 a.     The proper interpretation of the Distribution Agreement;

                 b.     Whether Plaintiff and the members of the Class were misclassified as
                        independent contractors under Connecticut law;

                 c.     Whether Defendants’ misclassification of Plaintiff and the Class as
                        independent contractors, and resulting violations of Connecticut law, was
                        reckless and/or willful;

                 d.     Whether deducting wages for various expenses from Plaintiff and the
                        members of the Class’s pay for ordinary business expenses was illegal; and

                 e.     Whether Defendants paid to Distributors all wages earned under contract
                        and law when due.

       63.       Typicality. The claims of Plaintiff are typical of the claims of all members of the

Class because Defendants applied and continues to apply their illegal pay practices uniformly to

all employees.

       64.       Superiority of a Class Action. Class action is superior to other available means

for the fair and efficient adjudication of this controversy. Individual joinder of all members of the

Class is not practicable, and questions of law and fact common to the Class has been damaged and

is entitled to recovery due to Defendants’ conduct described in this Complaint. A class action will

allow those similarly situated to litigate their claims in the most efficient and economical manner

for the parties and the judiciary. Plaintiff is unaware of any difficulties likely to be encountered in

this action that would preclude its maintenance as a class action.

             COUNT I – FAILURE TO PAY OVERTIME UNDER THE FLSA
                              (29 U.S.C. § 207(a)(1))

       65.       Plaintiff incorporates by reference every allegation contained above.

       66.       Plaintiff brings this cause of action on behalf of himself and the FLSA Class.


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         67.   The FLSA (Section 207(a)(1)) requires overtime pay at a rate not less than one and

one-half times an employee’s regular rate for work over forty hours in a week.

         68.   Defendants’ Distributors, including Plaintiff, regularly worked (and continue to

work) between 50 and 70 hours per week in accordance with Defendants’ mandated schedule. Yet

Defendants never paid Plaintiff or any member of the FLSA Class any overtime pay.

         69.   Defendants know that these Distributors are improperly classified and that they

work well over 40 hours per week, but intentionally and willfully fail to provide overtime premium

pay.

                   COUNT II – FAILURE TO PAY OVERTIME WAGES
                             (C.G.S. §§ 31-60, 31-76c, 31-68)

         70.   Plaintiff incorporates by reference every allegation contained above.

         71.   Plaintiff brings this cause of action on behalf of himself and the Connecticut Class.

         72.   This count arises from Defendants’ violation of the C.G.S. §§ 31-60, 31-76c by

failing to pay overtime wages to Plaintiff and the Class at a rate of one and one-half time their

regular hourly rate of pay for all time worked in excess of forty hours during individual work

weeks.

         73.   Pursuant to C.G.S. §§ 31-60, 31-76c, Plaintiff and the Class were entitled to be

compensated at a rate of one and one-half times their regular hour rate of pay for all time worked

in excess of forty hours in individual work weeks.

         74.   Defendants’ failure to pay Plaintiff and the Class overtime wages at a rate of one

and one-half times their regular hourly rate of pay for all time worked in excess of forty hours in

individual work weeks violated C.G.S. §§ 31-60, 31-76c.

         75.   Pursuant to C.G.S. § 31-68, Plaintiff and the Class are owed twice the full amount

of their unpaid overtime wages, along with costs and such reasonable attorney’s fees as may be



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allowed by the court. Defendants do not have a good faith belief that their underpayment of wages

was in compliance with law.

                 COUNT III – UNLAWFUL WITHHOLDING OF WAGES
                               (C.G.S. §§ 31-71e, 31-72)

       76.     Plaintiff incorporates by reference every allegation contained above.

       77.     Plaintiff brings this cause of action on behalf of himself and the Connecticut Class.

       78.     This count arises from Defendants’ violation of the CWPL for Defendants’ failure

to pay Plaintiff and the Class all wages earned, Defendants’ taking of unlawful deductions from

the wages earned by Plaintiff and the Class, and Defendants’ failure to reimburse Plaintiff and the

Class for necessary expenditures and losses required of Distributors in the discharge of their

employment duties, which inured to the primary benefit of Defendants.

       79.     Plaintiff and the Class were Defendants’ employees for purposes of the CWPL.

       80.     Defendants have misclassified Plaintiff and other similarly situated Distributors as

independent contractors when they are actually employees under Connecticut wage laws.

       81.     As a result of this misclassification, Defendants did not pay Plaintiff and other

similarly situated Distributors all the wages owed to them under C.G.S. § 31-71a.

       82.     As described in paragraphs 47 through 48, supra, Defendants make unlawful

deductions from their Distributors. This includes, but is not limited to, paying a non-refundable

“initial fee” to purchase a distribution territory, paying a weekly administrative service charge,

paying a daily charge for temporary route service by Defendants, paying for manual invoice entries

by Defendants, paying for sales ticket errors, paying a central-billed account fee for missing

invoices, and paying a returned check fee.

       83.     Defendants also require that Distributors shoulder other unreimbursed business

expenses including but not limited to vehicle related expenses like fuel/mileage, clothing and



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uniforms, the computer system required to make mandatory electronic transmissions to Defendants

of transactions, and insurance.

       84.     Defendants have violated CWPL, C.G.S. § 31-71e, by taking unlawful deductions

from the wages earned by Plaintiff and the Class, and by failing to reimburse Plaintiff and the

putative class for necessary expenditures and losses required of Distributors in the discharge of

their employment duties, which inured to the primary benefit of Defendants.

       85.     Defendants’ conduct complained of herein was willful and intentional in that

Defendants knew, required, approved, suffered and/or permitted the misclassification of

Distributors as independent contractors, the unlawful deductions taken from drivers' pay, and the

failure to reimburse necessary expenditures and losses.

       86.     As a result of Defendants' willful violation of the CWPL, Plaintiff and the Class

have been damaged in that they have not received compensation due and owing pursuant to the

CWPL. Pursuant to C.G.S. § 31-72, Plaintiff and the Class are owed twice the full amount of the

improper deductions and unreimbursed expenses, along with costs and such reasonable attorney’s

fees as may be allowed by the court. Defendants do not have a good faith belief that their improper

deductions and failure to reimburse Plaintiff and the Class for expenses was in compliance with

law.

             COUNT IV – FAILURE TO PAY ALL MONEYS AND WAGES DUE
                              (C.G.S. §§ 31-71b, 31-72)

       87.     Plaintiff incorporates by reference every allegation contained above.

       88.     Plaintiff brings this cause of action on behalf of himself and the Connecticut Class.

       89.     At all relevant times, Defendants were “employers” within the meaning, and subject

to the requirements, of the CWPL. See C.G.S. § 31-71(a)(1).




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       90.     At all relevant times, Plaintiff and the Class were employed by Defendants as

“employees” within the meaning of the CWPL. See C.G.S. § 31-71(a)(2).

       91.     The CWPL requires employers, like Defendants, to pay employees, including

Plaintiff and the Class, all their earned wages for all hours worked at the rate agreed to by the

parties. C.G.S. § 31-72.

       92.     Defendants have violated the CWPL by failing to pay Plaintiff and the Class all

moneys and wages due as a result of their misclassification.

       93.     As described in paragraphs 47 through 48, supra, Defendants make unlawful

deductions from their Distributors. This includes, but is not limited to, paying a non-refundable

“initial fee” to purchase a distribution territory, paying a weekly administrative service charge,

paying a daily charge for temporary route service by Defendants, paying for manual invoice entries

by Defendants, paying for sales ticket errors, paying a central-billed account fee for missing

invoices, and paying a returned check fee.

       94.     Defendants also require that Distributors shoulder other unreimbursed business

expenses including but not limited to vehicle related expenses like fuel/mileage, clothing and

uniforms, the computer system required to make mandatory electronic transmissions to Defendants

of transactions, and insurance.

       95.     Defendants have further violated the CWPL by failing to pay Plaintiff and the

putative class all wages earned, including the contractually-owed wages described in paragraphs

39 through 46, supra.

       96.     Defendants’ conduct complained of herein was willful and intentional in that

Defendants knew, required, approved, suffered and/or permitted the misclassification of

Distributors as independent contractors, the unlawful deductions taken from drivers' pay, and the




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failure to reimburse necessary expenditures and losses.

       97.     As a result of Defendants’ willful violation of the CWPL, Plaintiff and the Class

have been damaged in that they have not received compensation due and owing pursuant to the

CWPL. Pursuant to C.G.S. § 31-72, Plaintiff and the Class are owed twice the full amount of their

unpaid wages, along with costs and such reasonable attorney’s fees as may be allowed by the court.

Defendants do not have a good faith belief that their improper deductions and failure to reimburse

Plaintiff and the Class for expenses was in compliance with law.



                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

   a. Designation of this action as a collective action on behalf of the members of the FLSA

       Class and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to all similarly situated

       members of the FLSA Class, apprising them of the pendency of this action, permitting

       them to assert timely FLSA claims in this action by filing individual Consents to Sue

       pursuant to 29 U.S.C. § 216(b), and tolling of the statute of limitations;


   b. Certification of Plaintiff’s Connecticut state law claims as a Class Action pursuant to Fed.

       R. Civ. P. 23 and prompt issuance of notice to class member pursuant to Rule 23(c)(2);


   c. Granting judgment in favor of Plaintiff and the members of the FLSA and Connecticut

       Classes on all Counts;


   d. An award of all compensatory damages due under the FLSA and Connecticut law;


   e. An award of liquidated and/or punitive damages as a result of the Defendants’ willful

       failure to pay overtime compensation pursuant to the FLSA (e.g., 29 U.S.C. § 216) and


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       Connecticut law (e.g., C.G.S. §§ 31-68, 31-72);


   f. An award of all applicable penalties;


   g. An award of prejudgment and post-judgment interest where allowable;


   h. An award of reasonable attorneys’ fees and reimbursement of all costs and expenses

       inclurred in litigating this action;


   i. An award of equitable and injunctive relief precluding the continuation of the polices and

       practices pled in this Complaint;


   j. An award of any further relief this Court deems just, necessary, and proper.




                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues as to which a jury trial is available.



Dated: February 13, 2025                               Respectfully Submitted,


                                                       FINKELSTEIN, BLANKINSHIP,
                                                       FREI-PEARSON & GARBER, LLP

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